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James Garretson (00:09):
Dude, I just called the Pontotoc County just to verify the warrant still. He's got two felonies and three
misdemeanors.

Paul Malagerio (00:15):
Okay. The lady said that she talked to him a couple of weeks ago. But regardless, you're still there.

James Garretson (00:24):
I wish I-

Paul Malagerio (00:25):
And he's in Ringling.

James Garretson (00:27):
Yeah, I know. I hope that's Will, before I fucking call the roads.

Paul Malagerio (00:34):
Well, he's a cop. Just tell him, he says he don't fucking care. He's got a broke down check already. He's
not going to be mad at you. It's his fucking job. I mean, don't-

James Garretson (00:40):
Yeah.

Paul Malagerio (00:42):
He's not much help anyways.

James Garretson (00:45):
Yeah. I called, the warrants are still active. I'm fucking on it, dude. I'll have that probation officer and
everybody run up by fucking 9:00 AM.

Paul Malagerio (00:54):
Yeah, and you can have them look at the post and then you can also tell or send him the picture that he
was in Ringling that day. The whatever day he was [crosstalk 00:01:04].

James Garretson (01:04):
Oh yeah. [inaudible 00:01:08] No, I'll send him out there.

Paul Malagerio (01:08):
Yeah. I mean it's for roads. It's a 10 minute drive.

James Garretson (01:10):
Yeah.



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Paul Malagerio (01:10):
I mean...

James Garretson (01:14):
Dude, I'm going to have fun with this.

Paul Malagerio (01:16):
Yep.

James Garretson (01:17):
And they're going to know exactly who dropped that fucking bomb.

Paul Malagerio (01:22):
Who's going to know?

James Garretson (01:24):
Oh, because everybody knows how bad I want him. See I have messages from Jeff saying, well, just let
me know and I'll set William up for you.

Paul Malagerio (01:35):
Really?

James Garretson (01:35):
Oh yeah, dude.

Paul Malagerio (01:36):
Is that [inaudible 00:01:37]?

James Garretson (01:36):
I got a whole collection of good stuff, man.

Paul Malagerio (01:40):
Well, you got to get a message to Will, after he's arrested and just say, you know-

James Garretson (01:45):
I want to get a message I'm going to get a message to him. I'm going to start writing to inmates.

Paul Malagerio (01:49):
No, no. Just the message to Will is thanks Jeff for letting me know you were there.

James Garretson (01:57):
Oh yeah. Oh, God. I'm ready to just fucking get fucking heads, man.



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Paul Malagerio (02:05):
We'll get it. We'll get it.

James Garretson (02:06):
Just one at a time. Start pecking them off like fucking chickens.

Paul Malagerio (02:13):
Yeah.

James Garretson (02:13):
Man. That's good news though. What Jeff Johnson do now?

Paul Malagerio (02:19):
His comments, right. Going back to something he didn't tell me, what he said about diesel and stuff. He-

James Garretson (02:24):
Yeah.

Paul Malagerio (02:24):
He got to hurt.

James Garretson (02:27):
I got all that on tape too. I did.

Paul Malagerio (02:29):
Yeah.

James Garretson (02:29):
I called Scott today. Check on the cats earlier and he said, they're doing real good. I said, you know I was
just seeing if he was in court. If he's going to come court, because he said he going to climb up there.

Paul Malagerio (02:41):
You did.

James Garretson (02:45):
I don't know. Who knows.

Paul Malagerio (02:46):
What else did you talk about, the cats? They didn't sedate Floyd, did they?

James Garretson (02:53):
No, I just-



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Paul Malagerio (02:55):
Oh, you know what?

James Garretson (02:55):
I just text him-

Paul Malagerio (02:55):
Remember-

James Garretson (02:55):
And said everything was fine. Know what?

Paul Malagerio (02:55):
Ok. Have you seen that stupid fat idiot woman, that didn't know enough to get them out of the fucking
cold when it's 43 degrees?

James Garretson (03:01):
Yeah, yeah.

Paul Malagerio (03:04):
Well, she does her curator talk. She's the one that thought Robby was 600 pounds.

James Garretson (03:10):
Yeah.

Paul Malagerio (03:10):
Have you ever seen a tiger, that's not even fully mature at 600 pounds?

James Garretson (03:15):
No.

Paul Malagerio (03:16):
I mean-

James Garretson (03:16):
He's about 500, because he's so fat.

Paul Malagerio (03:20):
Then she's got access to fucking drugs.

James Garretson (03:22):
Yeah.



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Paul Malagerio (03:23):
I mean, she's a fucking idiot.

James Garretson (03:24):
Yeah.

Paul Malagerio (03:24):
A huge fucking idiot. I don't trust her. If they fucking kill Floyd, I'll freak on these fuckers.

James Garretson (03:31):
Yeah.

Paul Malagerio (03:31):
I just have to drop everything and drive there. Today they posted earlier all of the people to contact, all
of the representatives to push the big cat. [inaudible 00:03:43]

James Garretson (03:43):
Fucking bastards.

Paul Malagerio (03:46):
Over and over and over.

James Garretson (03:47):
And they're a fucking roadside zoo. Yeah.

Paul Malagerio (03:54):
Okay, okay. You know what? But Scott's smart enough to know when he turned his back on everybody
else. Now he's got money, a nice facility, cats and no stress.

James Garretson (04:07):
Yeah.

Paul Malagerio (04:08):
And that's what we need, because we can't do this. We can't fucking fight with these people. Every day
will be a battle.

James Garretson (04:12):
Oh yeah.

Paul Malagerio (04:14):
You know, keep our business to ourselves and we'll get the last laugh.

James Garretson (04:21):


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Fucking Wheels. That lady is [inaudible 00:04:21] probably illegally dumping carcasses.

Paul Malagerio (04:25):
She put a video on.

James Garretson (04:26):
Oh.

Paul Malagerio (04:26):
There's probably 50 to 60 carcasses of cattle, in different pieces. Right there on the property. Right over
her fence.

James Garretson (04:37):
Oh, shit.

Paul Malagerio (04:37):
She put a video on them. Holy fucks. Now all the comments, people are freaking out. Well, why doesn't
someone call the sheriff or you think so and so knows about this? What so and so going to do?
Everybody's now jumping up and down. You picked the right time to call in on this, right? Now they got
to go down there. For what I'm seen about Oklahoma, they don't care if you fucking spill oil anywhere.
It's a shit hole. I mean, nobody cares, but there's got to be something, some environmental thing going
on. Plus the arrogance of doing it. That's going to shit on Jeff Wolf.

James Garretson (05:07):
[inaudible 00:00:15]

Paul Malagerio (05:10):
Jeff Johnson makes a comment. If you heard what Eric said, Jeff Johnson tweaked it. He tweaked Eric's
comments to suit his own thing, and at the end of his paragraph, he puts Eric Cowie. Dot dot dot. Guilty.
He's shitting on Eric because people wonder, well, why didn't Eric do something about it? Well, Eric, in
his testimony, he heard the gunshots, but he was up at the front of the park he said. But he knew what
they were doing.

Paul Malagerio (05:44):
Well, okay. You and I, we know the dynamics of the personalities and whatever. What did they expect
Eric to do? There's nobody to call. Who do you call? Who the fuck you going to call? The sheriff?

James Garretson (05:59):
Yeah.

Paul Malagerio (05:59):
Everybody thinks the USDA is going to sweep in and arrest someone or do whatever. We see how well
that goes. Because they already were watching the place. They already knew. They already knew this



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shit. Maybe I'm protective with Eric, but I don't like Jeff Johnson dumping on him. The guy, and even
named one of the cats who I knew and Eric loved, that Joe shot. I see why he's drinking.

James Garretson (06:28):
Yeah.

Paul Malagerio (06:29):
I know he's not completely innocent, but he had to be around that. He had to see that. I knew his, the
reason why he was there and it wasn't for a hundred bucks a week and all the great fucking adoration
and respect he got. Fuck. Jeff Johnson, Eric Cowie, guilty. Oh, it absolves Joe of everything because Eric
didn't call someone?

Paul Malagerio (06:54):
That's exactly what a [inaudible 00:06:58] like, but just people not jumping on Jeff Johnson for saying,
well, what did you want Eric to do? Or who should Eric have called? Don't you know, Eric has never had
a cell phone? The time I was there. He couldn't afford one.

James Garretson (07:11):
Yeah.

Paul Malagerio (07:11):
What do you think? He's going to go up to the gift shop and call someone on the videotape of a camera.
Joe would've shot him too. But you know, Eric had his 15 minutes of fame and I don't know, his fucking
hair was down past his shoulders. We used to joke about his hair. Gretchen fucking loved his hair. I
mean, a stick long hair, right. A woman should have hair like that, not a guy. He just let it fucking grow.
Whatever you're doing, he's drunk a lot. And he just don't fucking care.

James Garretson (07:58):
I'm going to have fun with Will tomorrow.

Paul Malagerio (08:02):
I just wish I was closer to the area or got a different vehicle. I could just do so much. Just hanging
around. Oh, do you know when Jeff Lowe's testifying?

James Garretson (08:17):
I have no idea.

Paul Malagerio (08:21):
Okay. And no one will tell you?

James Garretson (08:22):
No. Nobody will tell me.

Paul Malagerio (08:26):


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It's probably best they don't. He's probably the last witness for the prosecution, correct?

James Garretson (08:36):
Probably. I know Baskins testifies tomorrow.

Paul Malagerio (08:41):
Okay. When Jeff Lowe testifies, that's when his agreement and deal and immunity thing will come out.
That's why he phoned Matt to try to get him off the shit in Vegas. And what was Matt's response to
that?

James Garretson (08:55):
They can't. They can't help the state charge.

Paul Malagerio (09:00):
Yeah. The immunity deal has parameters to it. It's not a blanket immunity.

James Garretson (09:06):
Oh yeah. It's not a blanket. No.

Paul Malagerio (09:10):
Okay. Because I'm pretty sure they're going to find dope on him one day. Maybe a fucking few bullets.

James Garretson (09:16):
Yeah. I was just watching some of this shit, man.

Paul Malagerio (09:21):
Oh shit.

James Garretson (09:22):
No, I was going through some of these news videos. I was watching these little news clips. It's just
ridiculous. You know, I can't believe he just didn't fucking plea and say, hey, fucking plea.

Paul Malagerio (09:37):
The tape, the judge gave him another shot at it. That floors me, that the judge would actually do that.

James Garretson (09:45):
The judge reminded him and basically said due to the overwhelming evidence, do you want to take a
plea. Or there's a plea deal on the table or something. Which is crazy.

Paul Malagerio (10:02):
I've never heard of something like that.

James Garretson (10:04):


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Me either.

Paul Malagerio (10:06):
Now, if it was a trial by judge and jury, the judge already convicted him today without even the other 10
days of fucking testimony coming up. Yeah. The judge made that comment based on what he heard
today.

James Garretson (10:22):
Yeah.

Paul Malagerio (10:24):
And it's only going to get worse.

James Garretson (10:27):
Wait until start playing the videos of him talking to the Hitman and shit. Today-

Paul Malagerio (10:30):
They played that today?

James Garretson (10:32):
Today was just the animal stuff.

Paul Malagerio (10:36):
Okay. Just what he heard today, the judge...

James Garretson (10:39):
Yeah.

Paul Malagerio (10:39):
Convicted him already.

James Garretson (10:41):
Yep.

Paul Malagerio (10:42):
Wow.

James Garretson (10:44):
Yep. And all his lawyers telling the news, that he was set up.

Paul Malagerio (10:49):




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Yeah, yeah, yeah. Somebody put the shotgun in his hand and loaded it. It's a single shot 410. It was in
the office, and went forced Joe or trick Joe into murdering five cats. How fucking stupid is that? Did his
lawyer make a comment on an interview?

James Garretson (11:09):
Yeah, Bill [inaudible 00:11:10]. He said that-

Paul Malagerio (11:14):
[inaudible 00:11:14].

James Garretson (11:14):
His client was set up for the murder for hire.

Paul Malagerio (11:21):
That seems minute now compared to the animal murdering convictions.

James Garretson (11:28):
Yeah.

Paul Malagerio (11:29):
We don't know what doc green said, but if she's defending Joe, then did she lie and say that she gave or
agreed or gave Joe permission or signed off on these cats, because of an illness? Which they know
because they've got the bones, the cats weren't sick. Most of them were perfectly healthy cats. Like you
said, guns are not a proper way of euthanasia.

James Garretson (11:52):
They had some forensic scientists and shit, there today. I guess saying the cats were healthy when they
were killed.

Paul Malagerio (12:06):
Okay. Basically he murdered five cats and didn't do it with the vet's permission, because they weren't
sick, correct?

James Garretson (12:14):
Correct.

Paul Malagerio (12:16):
It's probably after that, that the judge gave him the offer to plea because the jury hears that and that's
five convictions for whatever the wording is. Because he's charged with it, those five separates deaths.
Or is all five together? I don't know how it works.

James Garretson (12:29):
I don't know how they do it. I think they're five separate counts.



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Paul Malagerio (12:34):
And those carry a penalty at five years each.

James Garretson (12:37):
Yeah, probably.

Paul Malagerio (12:40):
Wow.

James Garretson (12:41):
I know he just...

Paul Malagerio (12:44):
He's done. He's fucked. And it's day one. Can you imagine the charge to the jury, because the judge
already has convicted him? How he's going to speak to them and remind them of this? He's stupid, not
go in tomorrow morning. Just don't want to hear today. Take the 15 years. The bets off. He heard all he
has to hear. Take the fucking plea. They should take that plea off the table.

James Garretson (13:15):
Yeah.

Paul Malagerio (13:18):
Make him sit through this. Make him sit through the publication of another couple dozen people shitting
on him for what he did.

James Garretson (13:25):
Yeah. I'm emailing the probation department everything now. I'm getting it all started up.

Paul Malagerio (13:32):
You doing what?

James Garretson (13:32):
I just emailed the probation officer. I forgot I had her email.

Paul Malagerio (13:37):
Okay. If you need to tell him how you know, just say that the neighbor posted the conversation between
an employee named Will and videotape on the Joe Exotic site and she claims that he was there two
weeks ago.

James Garretson (13:53):
Yeah.

Paul Malagerio (13:54):


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Yeah, because it's right there.

James Garretson (13:57):
[inaudible 00:13:57] Video of all the carcasses. I think that looks freaking horrible.

Paul Malagerio (14:01):
Well, wait until it gets warm next week.

James Garretson (14:05):
Oh, the smell. Ugh.

Paul Malagerio (14:07):
It was a pile of them. Different colored cows. People are commenting.

James Garretson (14:15):
I mean that place has always stunk. I bet it smells 10 times worse now.

Paul Malagerio (14:22):
Well, it looks like they're dumped at the end of they call it the lake property. Drive through the gate, you
go down the end. I've been down there a few times. It looks like right where the dirt path ends, they
were just dumping like whole cows and body parts. I guess didn't feel like butcher them or something,
but they still took them. I guess I'll just dump them down there. Jeff Lowe would have had to have told
him to do that.

James Garretson (14:46):
Yeah.

Paul Malagerio (14:46):
Because he's not going to get his hands dirty and butcher a cow. He don't do that. Might get blood on
his jeans.

James Garretson (14:57):
Man, I hope that's the tally. Because I know there was another guy named Will, but I don't know if he's
still there.

Paul Malagerio (15:06):
How long was he there?

James Garretson (15:07):
I just, I think his name is Will, but...

Paul Malagerio (15:14):
How long ago?


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James Garretson (15:16):
I'm trying to think.

Paul Malagerio (15:18):
When you were there?

James Garretson (15:21):
Yeah. I think he left.

Paul Malagerio (15:25):
Well, even if you're wrong. It gets somebody off their ass. They are not going to get mad because you're
looking at doing their job for them. Go check.

James Garretson (15:32):
Yeah. I call the park tomorrow too and just say, hey, is little tally there?

Paul Malagerio (15:38):
No, don't do that. He'll run.

James Garretson (15:41):
I'll just say Will. And I was like, do you know is Will there?

Paul Malagerio (15:46):
Yeah.

James Garretson (15:46):
You know. Na, that would be hilarious.

Paul Malagerio (15:50):
Yeah. Maybe that'll be on K4News.

James Garretson (15:57):
Yeah.

Paul Malagerio (16:01):
Another zoo employee arrested.

James Garretson (16:08):
Right. Hey, give me a minute. Let me try to do this a little bit.

Paul Malagerio (16:12):
I'll talk to you in the morning.



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James Garretson (16:13):
Alright, bye.




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